         Case 4:11-cr-00023-JLK                   Document 76              Filed 05/01/12             Page 1 of 6 Pageid#: 321
                                                                                                           CLERK'S OFFIGE U.S.DlST.COUX
                                                                                                                          AT M NVILLE,VA
               (Rev.9/1I-VAW Adt
                               litions6/95)JudgmentinaCri
                                                        minalCase                                                              F'
                                                                                                                                jj.En
               Sheet1
                                                                                                                                -
                                                                                                                                    1
                                        UNITED STATES DISTRICT COURT x                                                         n        ,
                                                     W estern D istrictofV irginia                                   BK        .
                                                                                                                          o

          UNITED STATES OFAM ERICA                                          JUDGM ENT IN A CRIM INAL CASE
                              V.                                            caseNumber: DVAW 4I1CR000023-001
       LEE STERLING W ILLIAM S,m .                                          CaseN um ber'
                                                                                        .
                                                                            U SM N um ber: 16146-084
                                                                            Stual'
                                                                                 tJ.Pearson,Esq.                                              .
                                                                            Detkndant'sAttorney
TH E D EFEN DA N T:
I
KIpleadedguiltytocountts) 1,3,5                                                                                                                '
I
Z pleadednolocontenderetocountts)
   which wasaccepted by the court.                                                                                                      .
Z wasfoundguiltyoncountts)
   aftera plea ofnotguilty,

Thedefendantisadjudicatedguiltyoftheseoffenses:
  Title & Section                N ature ofO ffense                                                           Offense Ended                 Count
21U.S.C.j846             ConspiracytoPossesswith Intentto DistributeM orethan28 Gramsof                            12/3/10
                         CocaineBase
21U.S.C.j 841(a)(1) DistributionofCocaineBase                                                                     l1/12/10

2lU.S.C.j 841(a)(1) DistributionofCocaineBase                                                                      12/3/10

       The defendantissentenced asprovided in pages2 through                      6       ofthisjudgment.Thesentenceisimposedpursuantto
the Sentencing Reform Actof 1984.
Z Thedefendanthasbeenfoundnotguiltyoncountts)
K Countts)               2,4                Z is X aredismissedonthemotionoftheUnitedStates.
       liltisorderedthatthedefendyntmustnotifytheUnjtedStatesattorpeyforthisdiltrlctwithin30daysof>nychangeofname,residepce
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   def         resstunno
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                                                                                                                            p.ald.lforderedtopayrestimtlon,
                                                                            5/1/2012
                                                                           DatcofImpositionofJudgment

                                                                                                                                     *w
                                                                                                                 *
                                                                           S'     reo Judge



                                                                           Jackson L.Kiser,SeniorU nited StatesDistrictJudge
                                                                           Nameand Title ofJudge

                                                                                  l               l
                                                                           Date
          Case 4:11-cr-00023-JLK               Document 76           Filed 05/01/12        Page 2 of 6      Pageid#: 322
AO 2458    (Rev.9/1l-VAW Additions6/05)JudgmentinCriminalCase
           Sheet2 -lm prisomnent
                                                                                                 Judgment-Page    2       of   6
 DEFEN DAN T: LEE STERLING W ILLIA M S,.
                                       TR.
 CA SE N U M BER :DVAW 4I1CR000023-001


                                                            IM PW SO N M EN T

        Thedefendantishereby comm itted to thecustody ofthe United States Bureau ofPrisonsto be imprisoned fora
 totalterm of:
    60 m onthson Counts 1,3,5,to be served concurrently.




    K ThecourtmakesthefollowingrecommendationstotheBureauofPrisons:
    thatthe defendantparticipatein theResidentialDnlg TreatmentProgram w hileimprisoned.




    X ThedefendantisremandedtothecustodyoftheUnitedStatesMarshal.
    r-1 ThedefendantshallsurrendertotheUnitedStatesM arshalforthisdistrict;
        r'1 at                            IZI a.m. N p.m .               on
        r-l asnotified bytheUnited StatesM arshal.

    I
    --I ThedefendantshallsurrenderforserviceofsentenceattheinstitutiondesignatedbytheBureauofPrisons:
        FR before             on
        r-I asnotifiedbytheUnitedStatesM arshal.
        F-I asnotifiedby theProbationorPretrialServicesOffice.


                                                                 R ETU R N
lhaveexecutedthisjudgmentasfollows:




       Defendantdelivered on                                                      to                                      -



a                                                 ,   withacertifiedcopyofthisjudgment.


                                                                                             UNITED STATESMARSHAL

                                                                      6/                                    -     -   -            .

                                                                                          DEPUTY UNITED STATESMARSHAL
          Case 4:11-cr-00023-JLK            Document 76             Filed 05/01/12     Page 3 of 6        Pageid#: 323


AO 2458    (Rev.9/1l-VAW Additions6/05)JudgmentinaCrimi
                                                      nalCase
           Shtet3- SupervisedRelease
                                                                                              Judgment- page    3     of      6
DEFENDANT: LEE STERLING W ILLIAM S,JR.
CASE N UM BER:DVAW 4I1CR000023-001
                                                  SU PE R V ISE D R EL EA SE
Upon releasefrom imprisonment,the defendantshallbe on supelwised release fora term of:
4 years,consisting oftennsof4 yearson each ofCounts 1,3 and 5,al1such term sto nm concurrently.

         Thedefendantmustreportto the probation office in thedistrictto whichthe defendantisreleased w ithin 72 hoursofreleasefrom the
custody oftheBureau ofPrisons.
Thedefendantshallnotcommitanotherfederal,stateorlocalcrime.
Thedefendantshallnotunlawfully ppssessacontrolledspbjtancesThedefendantshallrefqainfrom anyunlawfuluseofaqontrolled
substance.Thedefepdantshallsubm ltto onedrugtestwlthln 15daysofreleasefrom imprlsonm entandatleasttwoperiodlcdrugtests
thereafter,asdeterm lned by thecourt.
     The abovedrug testing condition issuspended,based on the court'sdeterm ination thatthe defendantposesa Iow risk of
     future substanceabuse. (check,I
                                   fapplicable.
                                              )
K    Thedefendantshallnotpossessafirearm,ammunition,destructivedevice,oranyotherdangerousweapon.(checkfapplicable)
K    ThedefendantshallcooperateinthecollectionofDNA asdirectedby theprobationofficer.(check,I
                                                                                            fapplicable.
                                                                                                       )
     Thd
       eidefendantshallcomplywiththerequirementsottheSexOffenderRegistrationandNotificationAct(42I.J.S.C.j16901,qtseq.)
     as  rectedby t
                  he probat
                          lonof
                              f i
                                ger,t
                                    he Bu re
                                           a pojpnsonsjoran y sta
                                                                tes ex o ffen
     works,isastudent,orwasconvlctedofaquallfylngoffen e. (Check,fapplicable)
                                                                             derre
                                                                                 g i
                                                                                   str
                                                                                     atl
                                                                                       onagencyinwhlchheorsheresldes,
     Thedefendantshallparticipateinanapproved program fordomesticviolence.(check q'applicable.
                                                                                             )
        Ifthisjudgmentimposejafineorrestitution,itisaconditionofsupervisedreleasethatthedefendantpay inaccordancewiththe
ScheduleofPaymentssheetofthlsjudgment.
          Thedefendantmustcomplyw ith the standard conditionsthathave been adopted by thiscourtaswellasw ith any additionalconditions
on the attached page.

                               STANDAR D CO NDITION S OF SUPERVISIO N
      thedefendantshallnotleavethejudicialdistrictwithoutthepermission ofthecourtorprobation officer;
      the defendantshallreportto the probation ofticer in am annerand frequency directed by the coul' torprobation officer;
      the defendantshallanswertruthfully al1inquiries by the probation officerand follow the instructionsofthe probation officer;
      thedefendantshallsupporthisorherdependentsandm eetotherfam ily responsibilities;
      the defendantshallwork regularly ata lawfuloccupation,unlessexcused by theprobation officerforschooling,training,orother
      acceptable reasons'
                        ,
  6) thedefendantshallnotifytheprobation officeratleasttendayspriortoany changein residenceoremployment;
      the
      contde
          roflele
                nda
                 dsntshallrefrainfrom excessiyeuseofalcoholandshallnotpurchase, possess,use,di     stribute,oradpjnisterany
                   ubstance orany paraphernallarelated to any controlled substances exc
                                                                                ,      eptasprescribed by a physlclan;
  3) thedefendantshallnotfrequentplaceswherecontrolled substancesareillegally sold,used,distributed,oradministered;
  9) thedefendantshallnotassoçiatewith anypersonsengaged incriminalactivityand shallnotassociatewithanypersonconvictedofa
      felony,unlessgranted perm lssion to do so'
                                               by theprobatlon officer;
 l0) thedefendantshallpek
                        rmitqprqbationoftkerto visithimorheratany timeathomeorelsewhereandshallpermitconfiscationofany
      contrabandobservedlnplalnvlew oftheprobationofficer;
      the defendantshallnotify the probation officerwithin seventp two hoursofbeing arrested orquestioned by alaw enforcementofficer;
      thedçfepdantshallnotenterintoany agreementtoactasan inform erora specialagentofalaw enforcementagency withoutthe
      permlsslon ofthe court;and

      asdirdectcdbytheprpbationofficer,thgdefendantshallnotifythirdparliesofrisksthatmaybeoccajionejbythedefendant'scriminal
      d
      recor oryersonalkhlstoryprcharactqlsticsand shallpennittheprobatlonofficertomakesuch notlficatlonsandtocontirm the
       efendantscom pllancew lth such notlfication requirem ent .
        Case 4:11-cr-00023-JLK                Document 76           Filed 05/01/12         Page 4 of 6         Pageid#: 324
 AO 2458     (Rev.9/11-VAW Additi
                                ons6/05)JudgmentinaCriminalCase
             Sheet3C -Supervised Release
                                                                                                   Judgm ent-page    4     of       6
 D EFEN DA N T: LEE STERLING W ILLIAM S,JR.
 CA SE N UM BER :DVAW 4I1CR000023-00l

                                 SPECIA L CO NDITION S O F SUPER VISION
l.Thedefendantshallpayany specialassessmentthatisimposedbythisjudgment.
2. The defendantshallparticipatein a program oftesting and treatm entforsubstance abuse,asapproved by the probation ofticer,untilsuch
tim e asthe defendanthassatisfied al1requirem entsoftheprogram .

3. The defendantshallreside in a residencefree offireanns,amm unition,destnzctive devices,and dangerousw eapons.
4. The defendantshallsubm itto warrantless search and seiztlre ofperson and property asdirected by the probation officer,to determ ine
w hetherthe defendantisin possession oftsrearms,illegalcontrolled substancesand alcohol.
          Case 4:11-cr-00023-JLK                   Document 76      Filed 05/01/12      Page 5 of 6          Pageid#: 325
AO 2458    (Rev.9/11-VAW Additions6/05)JudgmentinaCri
                                                    m inalCase
           Sheet5 -CrinzinalM onetar,y Penalties
                                                                                           Judgment-éage        5    of       6
D EFEN DA N T: LEE STERLING W ILLIAM S,JR .
CA SE N U M BER: DVAW 4IlCR000023-001
                                              CRIM INA L M ONETARY PENALTIES
    The defendantmustpay the totalcrim inalm onetary penalties underthe scheduleofpaym entson Sheet6.

                     Assessm ent                                  Fine                            Restitution
TOTALS            S 300.00                                    $                               $


Z Thedeterminationofrestitutionisdeferreduntil                   .AnAmendedludgmentinaCriminalCase(AO 245C)willbeentered
     ahersuch determination.

Z Thedefendantmustmakerestitution(includingcommunityrestitution)tothefollowingpayeesintheamountlistedbelow.
     lfthe defendantmakesa partialpaym ent,each payee shallreceive an approxim ately proportioned paym ent,unless specified otherwise
     inthepriority orderorpercentagepaymentcolumnbelow.However,pursuantto 1sU.S.C j3664(1),allnonfederal victimsmustbe
     paid before the United States ispaid.
Nam e ofPavee                                          TotalLoss*             Restitution O rdered            Prioritv or Percentaee




TO TALS                                                           $0.00                              $0.00

Z    Restitutionamountorderedpursuanttopleaagreement$
I
--I Thedefendantmustpay interestonrestitutionandafineofmorethan$2,500,unlessthe restitution orGneispaid in fullbeforethe
    lilteenthdayafterthedateofthejudgment,pursuantto1sU.S.C.j3612(9.Al1ofthepaymentoptionsonSheet6maybesubject
     '


    to penaltiesfordelinquency and default,pursuantto l8U .S.
                                                            C.j3612(g).
I--I Thecourtdeterminedthatthedefendantdoesnothavetheabilitytopay interestand itisorderedthat:
    EEI theinterestrequirementiswaivedforthe EEl fine I--I restitution.
    f-l theinterestrequirementforthe I --I fine EEIrestitutionismodifiedasfollows:


*FindingsforthetotalamountoflossesarerequiredunderChapters109A, ll0,lIOA,and 113A ofTitle 18 foroffensescomm itted on
orafterSeptem ber l3,1994,butbefore Aprill3, l996.
          Case 4:11-cr-00023-JLK              Document 76          Filed 05/01/12         Page 6 of 6          Pageid#: 326
AO 2458    (Rev.9/ll-VAW Additions6/05)JudgmentinaCri
                                                    m inalCase
           Sheet6 -Schedule ofPayments
                                                                                                   Judgm ent-Page   6    of      6
 D EFEN DAN T: LEE STERLING W ILLIAM S,JR.
 CA SE N UM BER: DVAW 4I1CR000023-001

                                                SC H ED U LE O F PA Y M EN T S
 Having assessed the defendant'sability to pay,the totalcriminalmonetary penalties are due imm ediately and payable asfollows:

      K Lumpsum paymentof$300.00                        immediately,balancepayable
       I
       ZI notIaterthan                          ,or
       EEI inaccordance   IZIc, Z D, Z E, Z yor, Z G below);or
 B L Paymenttobeginimmediately(maybecombinedwith CIc, IZID, ElF,or Z Gbelowl;or
   EEI Paymentinequal             (e.g.,weekly,monthly,quarterly)installmentsof$ overaperiodof
                      (e.g.,monthsoryears),tocommence                  (e.g.,30or60days)afterthedateofthisjudgment;or
 D    r-I Paymentin equal                  (e.g.,weekly,monthly,quarterly)installmentsof$      -            overaperiod of
                      (e.g.,monthsoryears),tocommence                  (e.g.,30or60days)afterreleasefrom imprisonmenttoa
           term ofsupervision;or

 E Z Paymentduringtheterm ofsupervisedreleasewillcommencewithin                              (e.g.,30or60days)afterreleasefrom
           imprisonm ent.Thecourtw illsetthepaym entplanbasedonan assessm entofthedefendant'sabilitytopay atthattime'
                                                                                                                    , or

 F   r-I Duringtheterm ofimprisonment, paymentinequal                 (e.g..weeklv,monthly,quarterly)installmentsof
         $               ,or       % ofthedefendant' sincome,whioheverisgreater,to commence                     (e.g.,30or
         60days)afterthedateofthisjudgment;AN.  Dpaymentinequal                   (e.g.,weekly,monthly,quarterly)
         installmentsof$              during theterm ofsupervisedrelease,to commence                  (e.g.,30 or60days)
          aherreleasefrom im prisonm ent.
G    r-l Specialinstructionsregardingthepaymentofcriminalmonetary penalties:



A ny installmentschedule shallnotprecludeenforcem entofthe restitution or'
                                                                         Iine orderby theU nited Statesunder 18U .S.C jj3613and
3664(m).
AnyinstallmentscheduleissubjgcttoadjustmentbxthecourtatanytimeduringtheperiodofilpprisonmrntPrsupervision,andthe
defendantshallpotifytheprobatlon officerandtheU.S.Attorneyofany changeinthedefendant'seconomlcclrcumstancesthatmay affectthe
defendant'sabillty to pay.
Al
dislcrim inalm onetarypenaltiesshallbem adepayabletotheClerk,U .S.DistrictCourt,P.O .Box 1234,Roanoke,Virginia24006,for
   bursem ent.
 Thedefendantshallreceivecreditforallpaymentspreviouslymadetowardanycrim inalm onetarypenaltiesimposed.
!-1 JointandSeveral
     DefendantandCo-DefendantNamesand CaseNumbers(including defendantnumber),TotalAmount,JointandSeveralAmount,
     and corresponding payee,ifappropriate.




r7 Tbedefendantshallpaythecostofprosecution       .


F-1 Thedefendantshallpaythefollowingcourtcostts):
r-I Thedefendantshallforfeitthedefendant'sinterestinthefollowingpropertytotheUnited States:



P5)
(ayf
   me
    i ntsshallbeappliedinthefollowingorder:(l)assessment,(2)restitution principal,(3)restitution interest, (4)tineprincipal,
    neinterest,(6)communityrestitution,(7)penalties,and(8)costs,including costofprosecutionandcourtcosts.
